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 5
 6
 7
                                          UNITED STATES DISTRICT COURT
 8                                       NORTHERN DISTRICT OF CALIFORNIA
 9
      _____________________________________
10                                               )             Case Number __________
      Richard Sepulveda,                         )
11                                               )
                                                 )
12                     Plaintiff,                )
                                                 )             CIVIL RIGHTS
13    Vs.                                        )
                                                 )             COMPLAINT FOR INJUNCTIVE RELIEF
14                                               )             AND DAMAGES: DENIAL OF CIVIL
      David Hicks, individually and dba Sunshine )             RIGHTS OF A DISABLED PERSON, IN
15    Donut Co.; Rachel Hicks, individually and )              VIOLATION OF THE AMERICANS WITH
      dba Sunshine Donut Co.; and Does 1 to 50 )               DISABILITIES ACT OF 1990 AS
16    inclusive,                                 )             AMENDED, AND VIOLATION OF
                                                 )             CALIFORNIA’S CIVIL RIGHTS
17                                               )             STATUTES
                          Defendants.            )
18                                               )             JURY TRIAL REQUESTED
19
20
      Plaintiff herein complains of defendants herein, and alleges as follows:
21
22                                                 JURISDICTION AND VENUE
23
      1.   This court has jurisdiction over this matter and these defendants pursuant to 28 USC § 1331
24
           for violations of the Americans with Disabilities Act of 1990 (42 USC §12101 et seq.).
25
           Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
26
           facts, action is also bought under California law, including, but not limited to, violations of
27
           California Government Code §4450; California Health and Safety Code §19953 et seq., and
28
           applicable regulations, including but not limited to California Code of Regulations, Title 24,
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 1         §19959; and California Civil Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3. Defendants
 2         David Hicks and Rachel Hicks own and operate a business called “Sunshine Donut Co.” at
 3         130 South 4th Street, Patterson, California in this judicial district. Defendants David Hicks and
 4         Rachel Hicks owned the real property on which this business is operated in this judicial
 5         district.
 6    2. Venue is proper in this court pursuant to 28 USC §1391(b) and is founded on the fact that the
 7         real property that is the subject of this action is located in this district, and that plaintiff’s cause

 8         of action arose in this district.

 9
                                                    INTRODUCTION
10
11
      3. Sunshine Donut Co. (the “Business”) is located at 130 South 4th Street, Patterson, California.
12
           Said business is owned and operated by defendants David Hicks and Rachel Hicks. The real
13
           property is owned by David Hicks and Rachel Hicks. The Business is a “public
14         accommodation and business establishment” subject to California Health and Safety Code
15         §19953 et seq. and California Civil Code §54 et seq. On information and belief, this Business
16         has, since July 1, 1970, undergone construction and/or “alterations, structural repairs, or
17         additions,” subjecting such facility to disabled access requirements per Health and Safety

18         Code §19953 to 19959 et seq. Construction and alterations since July 1, 1982 also subjected
           these facilities to the requirements of California’s Title 24, the State Building Code. Further,
19
           irrespective of alternation history, such premises are subject to the “readily achievable” barrier
20
           removal requirements of Title III of the Americans with Disabilities Act of 1990.
21
      4. Defendants David Hicks and Rachel Hicks operates the Business, an establishment for
22
           services to the public at which business and location said defendants failed to provide barrier-
23
           free access to said establishment as required under federal and California state law. Further,
24         defendants failed to provide compliance with the law as follows:
25              a. Exterior: The designated parking space was defective, as follows. These conditions
26                   violated the Americans With Disabilities Act (“ADA”), United States Access Board
27                   ADA Accessibility Guidelines (“ADAAG”). ADAAG §4.6.3 (1991 standards) (the

28                   improper parking space dimensions), and §4.6.6 and §4.1.2(5)(b) (1991 standards) (the
                     lack of properly painted passenger access aisle that is 96 inches wide and a properly
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 1                   painted parking space that is 18 feet long), and similarly, in violation of ADAAG
 2                   §502.3 (2010 standards). There was no proper designated disabled-accessible parking

 3                   space on the shortest accessible route to the main entrance, including that there was no
                     “van accessible” space on such route, in violation of ADAAG 4.6.2 (1991) (requiring
 4
                     shortest route), 4.1.2(b) (1991) (one in eight, but no less than one, must be “van
 5
                     accessible” as per ADAAG 4.6.4); also under ADAS §208, §208.3.1; §502
 6
                     (requirement for parking space), and §502.3 (requirement for access aisle)(2010
 7
                     standards). There was no proper signage for a parking space, in violation of ADAAG
 8
                     4.6.4 (1991 standards) and ADAAG 502.6 (2010 standards), and indeed, no signage at
 9                   all. These conditions also violated ADAAG 4.6.4 (1991 standards) and also violated
10                   502.6 and 703.2.1 (2010 standards)(lack of proper signage, and no parking space
11                   designated “van accessible”). These conditions were also in violation of California
12                   Building Code (“CBC”) 11B 208.3.1 (properly configured parking space not on

13                   shortest accessible route); §11B-208 (insufficient or no paint to delineate the space
                     itself or an access aisle), 11B-705.1.2.5 (lack of detectable warnings at hazardous
14
                     vehicle areas), 11B-502.2 (improper vehicle space dimensions, in that there was not a
15
                     properly laid-out access aisle), 11B-502.6.4 (faded or non-existent surface
16
                     identification), 11B-502.6 (“$250 fine” sign missing; no “van accessible” sign, and
17
                     other required signage was missing); no space designated “van accessible” (CBC 11B-
18
                     208.2.4 requires one in every six spaces); and 11B-502.3.3 (“no parking” was not
19                   painted in an access aisle). There was one defective disabled parking space in front of
20                   the main entrance. It had incomplete, faded, and missing paint on the asphalt to
21                   designate the parking space and the access aisle. In many portions, the paint was very
22                   faded. There was no signage. These conditions caused plaintiff difficulties in finding a

23                   safe place to park, safely exit his vehicle, and reach the entrance safely due to cross
                     traffic through the transit area. This caused plaintiff legitimate concern for his own
24
                     safety as he got out of his vehicle and entered the facility. Also, because of the lack of
25
                     a proper access aisle, plaintiff was concerned that another vehicle could pull in and try
26
                     to park next to him without realizing that a disabled person was in the process of
27
                     entering or exiting his vehicle.
28
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 1    5. The above barriers interfered with Plaintiff’s access to the facilities at the Business, and
 2         continue to deter plaintiff from visiting said facilities, and as a legal result, plaintiff has

 3         suffered and suffers violations of his civil rights to full and equal enjoyment of goods,
           services, facilities and privileges, and has suffered and will suffer embarrassment and
 4
           humiliation. Pursuant to Lopez v. Catalina Channel Express, Inc., 974 F.3d 1030 (9th Cir.
 5
           2020), plaintiff, in order to plausibly show that the cost of removing an architectural barrier
 6
           does not exceed the benefits under the particular circumstances, and by way of a plausible
 7
           proposal for barrier removal, the costs of which, facially, do not clearly exceed its benefits,
 8
           pleads the following: to remedy the parking space, paint one proper space and access aisle, and
 9         install proper signage; these costs generally do not cost in excess of approximately five
10         thousand dollars ($5,000), the benefits of which will accrue to countless disabled persons over
11         a period of years in the future. These cost estimates are based on estimates given in similar
12         ADA cases in which plaintiff has been involved, by plaintiff’s expert, a California licensed

13         civil engineer and CASp-certified. In normal circumstances, tax deductions and tax credits are
           available to defendants to do this kind of work. Each case is different, and these numbers are
14
           only estimates for purposes of this initial pleading.
15
16
                                                   FACTUAL ALLEGATIONS
17
18
      6. Plaintiff is, and at all times relevant to this complaint is, a “physically handicapped person,” a
19         “physically disabled person,” and a “person with a disability” as those terms are used under
20         applicable California law and under applicable federal law, including, but not limited to, Title
21         III of the Americans with Disabilities Act of 1990. (The terms “physically handicapped
22         person,” a “physically disabled person,” and a “person with a disability” will be used

23         interchangeably throughout this complaint.) Plaintiff is limited in the use of his legs and uses a

24         walker. Specifically, he is Vietnam veteran who has been designated as 100% disabled by the
           Veterans Administration. He suffers from lumbar disc disease and degenerative arthritis. He
25
           sometimes must sit in his walker as if it were a wheelchair. (There is a seat.)
26
      7. Defendants David Hicks and Rachel Hicks, at all times relevant herein, were and are the
27
           owners, operators, lessors, and/or lessees, franchisors and/or franchisees, of public facilities at
28
           the Business, known as Sunshine Donut Co., located at 130 South 4th Street, Patterson,
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 1         California, subject to California state law requiring full and equal access to public facilities
 2         pursuant to California Health and Safety Code §19953 et seq., California Civil Code §§ 51,

 3         51.5, 52(a), 52.1, 54, 54.1, and 54.3, and subject to Title III of the Americans with Disabilities
           Act of 1990, and to all the other legal requirements referred to in this complaint. Plaintiff does
 4
           not know the relative responsibilities of the defendants in the operation of the Business
 5
           facilities complained of herein, and alleges a joint venture and common enterprise by all such
 6
           defendants.
 7
      8. Defendants David Hicks and Rachel Hicks, at all times relevant herein were and are the
 8
           owners, operators, possessors, builders and keepers of the Business called Sunshine Donut Co.
 9         in the city of Patterson, California. Plaintiff is informed and believes that each of the
10         defendants herein is the agent, employee, or representative of each of the other defendants, and
11         performed acts and omissions as stated herein within the scope of such agency or employment
12         or representative capacity and is responsible in some manner for the acts and omissions of the

13         other defendants in legally causing the damages complained of herein, and have approved or
           ratified each of the acts or omissions of each other defendant, as herein described.
14
      9. Plaintiff does not know the true names and capacities of defendants Does 1 to 50, their
15
           business capacities, their ownership connection to the property and the business, nor their
16
           relative responsibilities or relationships among one another in causing the access violations
17
           herein complained of, and alleges a joint venture and common enterprise among all
18
           defendants. Plaintiff is informed and believes that each of the defendants herein is the agent,
19         ostensible agent, master, servant, employer, employee, representative, franchiser, franchisee,
20         joint venturer, partner, and associate, or such similar capacity, of each of the other defendants,
21         and was at all times acting and performing, or failing to act or perform, with the authorization,
22         consent, permission or ratification of each of the other defendants, and is responsible in some

23         manner for the acts and omissions of the other defendants in legally causing the violations and
           damages complained of herein, and have approved or ratified each of the acts or omissions of
24
           each other defendant, as herein described. Plaintiff will seek leave to amend this Complaint
25
           when the true names, capacities, connections and responsibilities of defendants are
26
           ascertained.
27
28
     ___________________________________________________________________________________________________________


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 1    10. Plaintiff is informed and believes that all named defendants, conspired to commit the acts
 2         described herein, or alternatively aided and abetted one another in the performance of the

 3         wrongful acts hereinafter complained of.
      11. Defendants are the owners of the property and operators of the Business called Sunshine
 4
           Donut Co. in the city of Patterson, California. This business, including, but not limited to,
 5
           access aisles and access routes, is or forms a part of a “public accommodation or facility”
 6
           subject to the requirements of California Health & Safety Code §19953, et seq., and of
 7
           California Civil Code §§51, 52(a), 54, 54.1, et seq. On information and belief, this business, or
 8
           portions of it, was constructed or altered after 1990, and after January 26, 1993, which fact has
 9         subjected the business to handicapped access requirements per California Code of Regulations
10         Title 24 (the State Building Code).
11    12. On or about December 29, 2023 (the “Visit Dates”), Plaintiff visited the Business for the
12         purpose of buying food and drink. Defendants interfered with Plaintiff’s access to the Business

13         as set forth herein. Plaintiff was further deterred from visiting on June 6, 2024 due to the
           ongoing existence of the barriers, and claims this date as meriting statutory damages as well,
14
           and included in “Visit Dates.”
15
      13. Said acts and omissions denied Plaintiff legal handicapped access to the Business and its
16
           facilities as required under state and federal law.
17
      14. Plaintiff’s home in Manteca, California is approximately twenty-six miles from the Business
18
           located in the city of Patterson. Plaintiff travels regularly to and through said city in this area
19         on business and pleasure trips. Plaintiff plans to return to the Business when this public
20         accommodation is made accessible.
21    15. Plaintiff himself encountered the architectural barriers described herein, and/or is informed
22         and believes that the architectural barriers described herein violate the California Code of

23         Regulations and the Americans with Disabilities Act Guidelines for Buildings and Facilities
           (“ADAAG”) issued by the Department of Justice, and that they existed and continue to exist,
24
           and thereby deny Plaintiff and others similarly situated full and equal access to the Business
25
           facilities as set forth herein.
26
      16. Defendants, and each of them, by these barriers, discriminated against Plaintiff, on the basis of
27
           his physical disability, and interfered with his access to the Business and its facilities, in
28
           violation of California law, including but not limited to §§51, 51.5, 54, 54.1, and in violation
     ___________________________________________________________________________________________________________


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 1         of Title III, §302, the “Prohibition against Discrimination” provision, and §503, the
 2         “Prohibition against Retaliation and Coercion” provision of the Americans with Disabilities

 3         Act of 1990.
      17. As a result of the actions and failure to act of defendants, and each of them, and as a result of
 4
           the failure to provide proper and accessible entryways, and accessible accommodations for a
 5
           store, Plaintiff suffered and will suffer the loss of his civil rights to full and equal access to
 6
           public facilities, and further has suffered in the past and will suffer in the future emotional
 7
           distress, mental distress, mental suffering, mental anguish, which includes shame, humiliation,
 8
           embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated
 9         with a person with a disability being denied access to a public accommodation, all to his
10         damages as prayed hereinafter in an amount within the jurisdiction of this court.
11
12         I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH

13                   DISABILITIES ACT OF 1990 (42 USC 12101 et seq.)

14
      18. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
15
           allegations contained in paragraphs 1 to 17 above and incorporates them herein as if separately
16
           pled.
17
      19. Pursuant to law, in 1990 the United States congress made findings per 42 USC 12101
18
           regarding persons with physical disabilities, finding that laws were needed to more fully
19         protect [at that time] 43 million Americans with one or more physical or mental disabilities;
20         [that] historically society has tended to isolate and segregate individuals with disabilities;
21         [that] such forms of discrimination against individuals with disabilities continue to be a serious
22         and pervasive social problem; [that] the nation's proper goals regarding individuals with

23         disabilities are to assure equality of opportunity, full participation, independent living and
           economic self-sufficiency such individuals; [and that] the continuing existence of unfair and
24
           unnecessary discrimination and prejudice denies people with disabilities the opportunity to
25
           compete on an equal basis and to pursue those opportunities for which our free society is
26
           justifiably famous.
27
      20. Congress stated as its purpose in passing the Americans With Disabilities Act of 1990 (42
28
           USC 12102):
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 1              a. It is the purpose of this act (1) to provide a clear and comprehensive national mandate
 2                   for the elimination of discrimination against individuals with disabilities; (2) to provide

 3                   clear, strong, consistent, enforceable standards; (3) to ensure that the Federal
                     Government plays a central role in enforcing the standards established in this Act on
 4
                     behalf of individuals with disabilities; (4) to invoke the sweep of Congressional
 5
                     authority, including the power to enforce the 14th amendment and to regulate
 6
                     commerce, in order to address the major areas of discrimination faced day to day by
 7
                     people with disabilities.
 8
      21. As part of the Americans with Disabilities Act of 1990, Congress approved Title III – Public
 9         Accommodations and Services Operated by Private Entities (42 USC 12181, et seq.) Among
10         the public accommodations identified under this title were “… a bakery, grocery store,
11         clothing store, hardware store, shopping center, or other sales or rental establishment.”
12    22. Pursuant to 42 USC 12182,

13              a. “No individual shall be discriminated against on the basis of disability in the full and
                     equal enjoyment of the goods, services, facilities, privileges, advantages or
14
                     accommodations by any person who owns, leases, (or leases to), or operates a place of
15
                     public accommodation.”
16
      23. Among the general prohibitions against discrimination were included in 42 USC
17
           12182(b)(1)(A)(i):
18
                a. Denial of Participation. It shall be discriminatory to subject an individual on the basis
19                   of a disability or disabilities of such individual or class, directly, or through
20                   contractual, licensing, or other arrangements, to a denial of the opportunity of the
21                   individual or class to participate in or benefit from the goods, services, facilities,
22                   privileges, advantages, or accommodations of an entity.

23    24. Among the general prohibitions against discrimination were included in 42 USC
           12182(b)(1)(E):
24
                a. Association. It shall be discriminatory to exclude or otherwise deny equal goods,
25
                     services, facilities, privileges, advantages, accommodations, or other opportunities to
26
                     an individual or entity because of the known disability of an individual with whom the
27
                     individual or entity is known to have a relationship or association.
28
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 1    25. The acts of Defendants set forth herein were a violation of Plaintiff’s rights under the ADA,
 2         and the regulations promulgated thereunder, 28 Code of Federal Regulations Part 36 et seq.

 3    26. Among the general prohibits against discrimination were included in 42 USC
           12182(b)(2)(A)(i) and (ii):
 4
                a. Discrimination. For purposes of subsection (a), discrimination includes:
 5
                          i. the imposition or application of eligibility criteria that screen out or tend to
 6
                               screen out an individual with a disability or any class of individuals with
 7
                               disabilities from fully and equally enjoying any goods, services, facilities,
 8
                               privileges, advantages, or accommodations, unless such criteria can be shown
 9
                               to be necessary for the provision of the goods, services, facilities, privileges,
10
                               advantages, or accommodations being offered;
11
                          ii. a failure to make reasonable modifications in policies, practices, or procedures,
12
                               when such modifications are necessary to afford such goods, services, facilities,
13
                               privileges, advantages, or accommodations to individuals with disabilities,
14
                               unless the entity can demonstrate that making such modifications would
15
                               fundamentally alter the nature of such goods, services, facilities, privileges,
16
                               advantages, or accommodations.
17
      27. Plaintiff alleges that the facilities, policies, practices and procedure for entry to the Business
18
           facility by persons with disabilities and their companions as established and set up by the
19
           Defendants can be simply modified to eliminate disparate and discriminatory treatment of
20
           persons with disabilities by properly constructing barrier-free handicapped access so as to
21
           provide safe, full and equal enjoyment of the Business facilities as is enjoyed by other, non-
22
           disabled, people.
23
      28. The specific prohibition against retaliation and coercion is included in the Americans with
24
           Disabilities Act of 1990 §503(b) and the Remedies and Procedures in §503(c):
25
                a. Section 503(b) Interference, Coercion, or Intimidation. - It shall be unlawful to coerce,
26
                     intimidate, threaten, or interfere with any individual in the exercise or enjoyment of, or
27
                     on account of his or her having exercised or enjoyed, or on account of his or her having
28
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 1                   aided or encouraged any other individual in the exercise or enjoyment of, any right
 2                   granted or protected by this Act.
 3              b. Section 503(c) Remedies and Procedure. - The remedies and procedures available
 4                   under sections 107, 203, and 308 of this Act shall be available to aggrieved persons for
 5                   violations of subsections (a) and (b), with respect to Title I, Title II and Title Ill,
 6                   respectively.
 7    29. Among the specific prohibitions against discrimination were included, in 42 USC
 8         §12182(b)(2)(a)(iv), "A failure to remove architectural barriers, and communications barriers
 9         that are structural in nature, in existing facilities ... where such removal is 3dily achievable and
10         (v) "where and entity can demonstrate that the removal of a barrier under clause (iv) is not
11         readily achievable, a failure to make such goods, services, facilities, privileges, advantages, or
12         accommodations available through such methods are readily achievable." The acts of
13         Defendants set forth herein violated Plaintiffs rights under the "ADA," 42 USC 12181 et seq.,
14         and the regulations promulgated thereunder, 28 CFA Part 36, et seq.
15    30. The removal of the barriers complained of by Plaintiff as hereinabove alleged were at all times
16         after 1990 "readily achievable.” On information and belief, if the removal of all the barriers
17         complained of here together were not removable, the removal of each individual barrier
18         complained of herein was "readily achievable."
19    31. Per 42 USC §12181(9), “The term ‘readily-achievable’ means easily accomplishable and able
20         to be carried out. The statute and attendant regulations define relative ‘expense’ in relation to
21         the total financial resources of the entities involved, including any ‘parent’ companies.
22         Plaintiff alleges that properly repairing each of the items that Plaintiff complains of herein is
23         readily achievable, including, but not limited to, correcting and repairing the items set forth in
24         the Paragraphs above. The changes needed to remove barriers to access for the disabled were
25         and are readily achievable by the defendants under standards set forth under 42 USC §I2181 of
26         the Americans with Disabilities Act of 1990. (Further, if it were not "readily achievable" for
27         defendants to remove all such barriers, defendants have failed to make the required services
28
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 1         available through alternative methods, although such methods are achievable as required by 42
 2         USC §12181(b)(2)(a)(iv)(, v).)
 3    32. Pursuant to the Americans with Disabilities Act of 1990, §308 (42 USC §12188 et seq.),
 4         Plaintiff is entitled to the remedies and procedures set forth in the Civil Rights Act of 1964
 5         §204(a), (42 USC §2000a-3(a)), as Plaintiff is being subjected to discrimination on the basis of
 6         disability in violation of this title andlor Plaintiff has reasonable grounds for believing that he
 7         is about to be subjected to discrimination in violation of the Americans with Disabilities Act of
 8         1990, §302. Plaintiff cannot return to or make use of the subject Business’ public facilities
 9         complained of herein for the purpose of entry and provision of goods and service so long as
10         Defendants continue to apply eligibility criteria, policies, practices that screen out and refuse
11         to allow entry and service to persons with disabilities such as Plaintiff's.
12    33. Each of Defendants’ acts and omissions of failing to provide barrier-free handicapped access
13         for Plaintiff, were tantamount to interference, intimidation, and coercion pursuant to the
14         Americans with Disabilities Act of 1990 §503(b) (now 42 USC §12203): “It shall be unlawful
15         to coerce, intimidate, threaten, or interfere with any individual in the exercise or enjoyment of,
16         or on account of his or her having aided or encouraged any other individual in the exercise or
17         enjoyment of, any right granted or protected by this Act.”
18    34. Pursuant to the Americans with Disabilities Act of 1990 §308(a)(1) (now 42 USC §12188),
19         “Nothing in this section shall require a person with a disability to engage in a futile gesture if
20         such person has actual notice that a person or organization covered by this title does not intend
21         to comply with its provisions." Pursuant to this last section, Plaintiff, on information and
22         belief, alleges that defendants have continued to violate the law and deny the rights of Plaintiff
23         and other disabled persons to access this public accommodation for the purpose of dining.
24         Therefore, Plaintiff seeks injunctive relief pursuant to §308(a)(2) “...Where appropriate,
25         injunctive relief shall also include requiring the provision of an auxiliary aid or service,
26         modifications of a policy, or provision of alternative methods, to the extent required by this
27         title.”
28
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 1    35. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights Act of 1964
 2         (42 USC §2000a-3(a)), and pursuant to federal regulations adopted to implement the
 3         Americans with Disabilities Act of 1990, including, but not limited to, an order granting
 4         injunctive relief and attorneys’ fees. Such attorneys' fees, “including litigation expenses and
 5         costs,” are further specifically provided for by §505 of Title Ill.
 6         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
 7
 8         II. SECOND CAUSE OF ACTION: BREACH OF STATUTORY PROTECTIONS FOR
 9                   PERSONS WITH PHYSICAL DISABILITIES (California Health and Safety Code
10                   §19955 et seq.)
11
12    36. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
13         allegations contained in paragraphs 1 to 35 above and incorporates them herein as if separately
14         pled.
15    37. California Health & Safety Code §19955 provides in pertinent part: “The purpose of this part
16         is to insure that public accommodations or facilities constructed in this state with private funds
17         adhere to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Tile 1 of
18         the Government Code. For the purposes of this part "public accommodation or facilities"
19         means a building, structure, facility, complex, or improved area which is used by the general
20         public, and shall include auditoriums, hospitals, theaters, hotels, motels, stadiums, and
21         convention centers. When sanitary facilities are made available for the public, clients or
22         employees in such accommodations or facilities, they shall be made available for the
23         handicapped.
24    38. California Health & Safety Code §19956, which appears in the same chapter as §19955,
25         provides in pertinent part, "accommodations constructed in this state shall conform to the
26         provisions of Chapter 7 (commencing with Section 4450) of Division 5 of Title 1 of the
27         Government Code.. .” California Health and Safety Code §19956 was operative July 1, 1970,
28         and is applicable to all public accommodations constructed or altered after that date. On
     ___________________________________________________________________________________________________________


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 1         information and belief, portions of the subject Business building and facilities were
 2         constructed and/or altered after July 1, 1970, and substantial portions of said building and
 3         facilities had alterations, structural repairs, and/or additions made to such public
 4         accommodation after July 1, 1970, thereby requiring said public accommodations and/or
 5         buildings to be subject to the requirements of Part 5.5, California Health Safety Code §19955,
 6         et seq., upon such alteration, structural repairs or additions per California Health and Safety
 7         Code §19955.
 8    39. Pursuant to authority delegated by the California Government Code, the State Architect
 9         promulgated regulations for the enforcement of these Code provisions. Effective January 1,
10         1988, Title 24 of the California Administrative Code adopted the California State Architect’s
11         Regulations, and these regulations must be complied with as to any alterations and/or
12         modifications of the Business’ facilities after that date. Construction changes occurring prior
13         to this date but after July 1, 1970, triggered access requirements pursuant to the "ASA"
14         requirements, the American Standards Association Specifications, A117.1 -1961. On
15         information and belief, at the time of the construction modification and of the Business’
16         building and facilities, all buildings and facilities covered were required to conform to each of
17         the standards and specifications described in the American Standards Association
18         Specifications and/or those contained in Title 24 of the California Administrative Code (now
19         known as Title 24, California Code of Regulations.)
20    40. Public facilities such as the subject Business are public accommodations or facilities within
21         the meaning of California Health and Safety Code §19955.
22    41. It is difficult or impossible for persons with physical disabilities who use wheelchairs, canes,
23         walkers and service animals to travel about in public to use a store with the defects set forth
24         above as required by Title 24 of the California Code of Regulations and the Americans with
25         Disabilities Act Access Guidelines (ADAAG). Thus, when public accommodations fail to
26         provide handicap accessible public facilities, persons with disabilities are unable to enter and
27         use said facilities, and are denied full and equal access to and use of that facility that is
28         enjoyed by other members of the general public.
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 1    42. Plaintiff, and other similarly situated persons with physical disabilities whose physical
 2         conditions require the use of wheelchairs, canes, walkers and service animals, are unable to
 3         use public facilities on a “full and equal” basis unless each such facility is in compliance with
 4         the provisions of the California Health & Safety Code §19955, et seq. Plaintiff is a member of
 5         that portion of the public whose rights are protected by the provisions of California Health &
 6         Safety Code §19955, et seq.
 7    43. The California Health and Safety Code was enacted to “ensure that public accommodations
 8         and facilities constructed in this state with private funds adhere to the provisions of Chapter 7
 9         (commencing with §4450) of Division 5 of Title 1 of the Government Code.” Such “public
10         accommodations” are defined to include stores like this one.
11    44. Plaintiff is further informed and believes that as of the date of filing this complaint,
12         Defendants have not made accessible the facilities at the Business as set forth above.
13    45. Plaintiff, is informed and believes, and therefore alleges, that Defendants, and each of them,
14         caused the subject buildings and facilities constituting the Business to be constructed, altered
15         and maintained in such a manner that persons with physical disabilities were denied full and
16         equal access to, within and throughout said buildings and were denied full and equal use of
17         said public facilities, and despite knowledge and actual and constructive notice to such
18         Defendants that the configuration of the store, and/or buildings was in violation of the civil
19         rights of persons with physical disabilities, such as Plaintiff. Such construction, modification,
20         ownership, operation, maintenance and practices of such public facilities are in violation of
21         law as stated in Part 5.5, California Health & Safety Code §19955, et seq., and elsewhere in
22         the laws of California.
23    46. On information and belief, the subject building constituting the public facilities of the Business
24         have denied full and equal access to Plaintiff and other persons with physical disabilities in
25         other respects due to non-compliance with requirements of Title 24 of the California Code of
26         Regulations and the California Health & Safety Code §19955, el seq.
27    47. The basis of Plaintiff's aforementioned information and belief is the various means upon which
28         Defendants must have acquired such knowledge, including, but not limited to, this lawsuit,
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 1         other access lawsuits, communications with operators of other stores, and other property
 2         owners regarding denial access, communications with Plaintiff and other persons with
 3         disabilities, communications with other patrons who regularly visit there, communications
 4         with owners of other businesses, notices and advisories they obtained from governmental
 5         agencies through the mails, at seminars, posted bulletins, television, radio, public service
 6         announcements, or upon modification, improvement, alteration or substantial repair of the
 7         subject premises and other properties owned by these Defendants, newspaper articles and trade
 8         publications regarding the Americans with Disabilities Act of 1990, and other access law, and
 9         other similar information. The scope and means of the knowledge of each defendant is within
10         each defendant’s exclusive control and cannot be ascertained except through discovery.
11    48. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
12         legal expenses and hire attorneys in order to enforce his civil rights and enforce provisions of
13         the law protecting access for persons with physical disabilities and prohibiting discrimination
14         against persons with physical disabilities, and to take such action both in his own interests and
15         in order to enforce an important right affecting the public interest. Plaintiff, therefore, seeks
16         damages in this lawsuit for recovery of all reasonable attorneys' fees incurred, pursuant to the
17         provisions of the California Code of Civil Procedure §l021.5. Plaintiff additionally seeks
18         attorneys' fees pursuant to California Health & Safety Code §I9953 and California Civil Code
19         §§54.3.
20    49. Defendants, and each of them, at times prior to and including the Visit Dates, and continuing
21         to the present time, knew or should have known that persons with physical disabilities were
22         denied their rights of equal access to all portions of this public facility. Despite such
23         knowledge, or negligence with respect to such knowledge, Defendants failed and refused to
24         take steps to comply with the applicable handicapped access statutes; and despite knowledge
25         of the resulting problems and denial of civil rights thereby suffered by Plaintiff and other
26         similarly situated persons with disabilities, including the specific notices referred to in this
27         Complaint. Defendants have failed and continue to fail to take action to grant full and equal
28         access to persons with physical disabilities in the respects complained of hereinabove.
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 1         Defendants and each of them have carried out a course of conduct of refusing to respond to, or
 2         correct complaints about, denial of handicap access, or have been negligent in their obligations
 3         under the law.
 4    50. Defendants' actions have also been oppressive to persons with physical disabilities and to other
 5         members of the public, and have evidenced actual or implied malicious intent towards those
 6         members of the public, such as Plaintiff and other persons with physical disabilities who have
 7         been denied the proper access they are entitled to by law. Further, Defendants’ refusals on a
 8         day-to-day basis to correct these problems evidences despicable conduct in conscious
 9         disregard for the rights of Plaintiff and other members of the public with physical disabilities.
10    51. As a result of the actions and failure of Defendants, and each of them, and as a result of the
11         failure to provide proper accessible public facilities, Plaintiff was denied his civil rights,
12         including his right to full and equal access to public facilities, was embarrassed and
13         humiliated, suffered psychological and mental injuries and emotional distress, mental distress,
14         mental suffering, mental anguish, which includes shame, humiliation, embarrassment, anger,
15         chagrin, disappointment and worry, naturally associated with a person with a physical
16         disability being denied access to a public accommodation.
17         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
18
19         III.      THIRD CAUSE OF ACTION: VIOLATION OF CALIFORNIA’S CIVIL RIGHTS
20                   ACTS (California Civil Code §§54, 54.1 and 54.3)
21
22    52. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
23         allegations contained in paragraphs 1 to 51 above and incorporates them herein as if separately
24         pled.
25    53. The public facilities above-described constitute public facilities and public accommodations
26         within the meaning of California Health and Safety Code §19955 et seq. and are facilities to
27         which members of the public are invited. The aforementioned acts and omissions of
28         defendants, and each of them, constitute a denial of equal access to and use and enjoyment of
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 1         these facilities by persons with disabilities, including Plaintiff. Said acts and omissions are
 2         also in violation of the provisions of Title 24 of the California Code of Regulations.
 3    54. The rights of Plaintiff, the entitlement of Plaintiff to full and equal access, and the denial by
 4         defendants of such rights and entitlements are set forth in California Civil Code §§54, 54.1 and
 5         54.3, to wit:
 6              a. Individuals with disabilities shall have the same right as the ...general public to full and
 7                   free use of the streets, highways, sidewalks, walkways, public buildings, public
 8                   facilities, and other public places. (California Civil Code §54(a).)
 9              b. Individuals with disabilities shall be entitled to full and equal access, as other members
10                   of the general public, to accommodations, advantages, facilities, and privileges of all
11                   common carriers, airplanes, motor vehicles, railroad trains, motor buses, streetcars,
12                   boats, or any other public conveyances or modes of transportation (whether private,
13                   public, franchised, licensed, contracted, or otherwise provided), telephone facilities,
14                   adoption agencies, private schools, hotels, lodging places, places of public
15                   accommodation, amusement or resort, and other places to which the general public is
16                   invited, subject only to the conditions and limitations established by law, or state or
17                   federal regulation, and applicable alike to all persons. (California Civil Code §54.1(a).)
18    55. On or about the Visit Dates, Plaintiff suffered violations of California Civil Code §§54 and
19         54.1 in that he was denied full and equal enjoyment of the goods, services, facilities and
20         privileges of the Business as set forth in herein above. Plaintiff was also denied full and equal
21         access to other particulars, including, but not limited to, those described herein above. Plaintiff
22         was also denied use of facilities that he was entitled to under Title Ill of the Americans with
23         Disabilities Act of 1990.
24    56. As a result of the denial of full and equal enjoyment of the goods, services, facilities and
25         privileges of Defendants’ Business due to the acts and omissions of Defendants, and each of
26         them, in owning, operating and maintaining this subject Business as a public facility, Plaintiff
27         has suffered a violation of his civil rights, including, but not limited to, rights under California
28         Civil Code §§54, 54.1, and 54.3, and has suffered and will suffer an injury-in-fact in the form
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 1         of emotional distress, mental distress, mental suffering, mental anguish, which includes shame,
 2         humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and
 3         naturally associated with a disabled person's denial of full and equal enjoyment of goods,
 4         services, and privileges, all to his damages as prayed hereinafter in an amount within the
 5         jurisdiction of this court. Defendants' actions and omissions to act constituted discrimination
 6         against Plaintiff on the sole basis that Plaintiff is disabled.
 7    57. Plaintiff seeks statutory damages for the violation of his rights as a disabled person that
 8         occurred on or about the Visit Dates, according to proof, pursuant to California Civil Code
 9         §54.3.
10    58. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
11         legal expenses and hire attorneys in order to enforce his rights and enforce provisions of the
12         law protecting the full and equal enjoyment of goods, services, facilities, privileges of public
13         facilities by the disabled, and those individuals associated with or accompanied by a person
14         with disabilities, and prohibiting discrimination against the disabled. Plaintiff, therefore, seeks
15         recovery in this lawsuit for all reasonable attorneys' fees incurred pursuant to the provisions of
16         California Civil Code §51, 52, and 54. (California Civil Code §55 is specifically not invoked.)
17         Additionally, Plaintiff's lawsuit is intended not only to obtain compensation for damages to
18         Plaintiff, but also to compel the Defendants to make their goods, services, facilities and
19         privileges available and accessible to all members of the public with physical disabilities,
20         justifying public interest attorneys' fees pursuant to the provisions of California Code of Civil
21         Procedure §1021.5.
22    59. The acts and omissions of Defendants in failing to provide the required accessible facilities
23         subsequent to the enactment date and compliance date of the Americans with Disabilities Act
24         of 1990 and refusal to make remedial alterations to their facilities and other elements as
25         hereinabove stated, after being notified by patrons before and after the time of Plaintiff’s visit
26         and injuries, on or about the Visit Dates, and all times prior thereto, with the knowledge that
27         persons with disabilities would enter Defendants’ premises, the reason given therefor, was an
28         established policy, practice, and procedure of refusing and denying entry and/or use of
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 1         facilities, thereby denying services to a person with disabilities and the companions thereor,
 2         evidence malice and oppression toward Plaintiff and other disabled persons.
 3    60. Plaintiff seeks injunctive relief pursuant to California Civil Code §54 and Health and Safety
 4         Code §19953 et seq. to require Defendants to comply with federal and state access regulations.
 5    61. Defendants have failed to establish a non-discriminatory criteria, policy, practice and
 6         procedure for entry into said Business as hereinabove described.
 7    62. As a result of defendants’ continuing failure to provide for the full and equal enjoyment of
 8         goods, services, facilities and privileges of said Business as hereinabove described, Plaintiff
 9         has continually been denied his full and equal enjoyment of the subject store facilities at the
10         Business, as it would be a “futile gesture to attempt to patronize” said Business with the
11         discriminatory policy in place as hereinabove described.
12    63. The acts and omissions of Defendants as complained of herein in failing to provide the
13         required accessible facilities subsequent to the enactment date and compliance date of the
14         Americans with Disabilities Act of 1990 and refusal to make remedial modifications and
15         alterations to the architectural barriers as stated herein and in failing to establish practices,
16         policies and procedures to allow safe access by persons who are disabled are continuing on a
17         day-to-day basis to have the effect of wrongfully and willfully excluding Plaintiff and other
18         members of the public who are disabled from full and equal enjoyment of the subject Business
19         as hereinabove described. Such acts and omissions are the continuing cause of humiliation and
20         mental and emotional suffering of Plaintiff in that these actions continue to treat Plaintiff as an
21         inferior and second class citizen and serve to discriminate against him on the sole basis that he
22         is disabled. Plaintiff is unable so long as such acts and omissions of defendants continue, to
23         achieve full and equal enjoyment of the goods and services of said Business as described
24         hereinabove. The acts of Defendants have legally caused and will continue to cause irreparable
25         injury to Plaintiff if not enjoined by this court.
26    64. Wherefore, Plaintiff asks this court to preliminarily and permanently any continuing refusal by
27         Defendants to permit entry to said Business and to serve Plaintiff or others similarly situated,
28         and to require Defendants to comply forthwith with the applicable statutory requirements
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 1         relating to the full and equal enjoyment of goods and services as described hereinabove for
 2         disabled persons. Plaintiff further requests that the court award statutory costs and attorneys'
 3         fees to Plaintiff pursuant to California Code of Civil Procedure §I021.5, all as hereinafter
 4         prayed for.
 5
 6   WHEREFORE, Plaintiff prays for statutory damages, reasonable attorneys' fees and costs of suit, as
 7   allowed by statute and according to proof.
 8
 9         IV.       FOURTH CAUSE OF ACTION: VIOLATION OF CALIFORNIA UNRUH CIVIL
10                   RIGHTS ACT (California Civil Code §51 and §51.5.)
11
12    65. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
13         allegations contained in paragraphs 1 to 64 above and incorporates them herein as if separately
14         pled.
15    66. Defendant’ acts and omissions as specified with regard to the discriminatory treatment of
16         Plaintiff, on the basis of his disabilities, have been in violation of California Civil Code §§51
17         and 51.5, the Unruh Civil Rights Act, and have denied to Plaintiff his rights to “full and equal
18         accommodations, advantages, facilities, privileges or services in all business establishments of
19         every kind whatsoever.”
20    67. California Civil Code §51 also provides that “[a] violation of the right of any individual under
21         the Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a
22         violation of this section.”
23    68. California Civil Code §51.5 also provides that “[no business establishment of any kind
24         whatsoever shall discriminate against, boycott, or blacklist, refuse to buy from, sell to, or trade
25         with any person in this state because of the race, creed, religion, color, national origin, sex,
26         disability of the person or of the person's partners, members, stockholders, directors, officers,
27         managers, superintendents, agents, employees, business associates, suppliers, or customers.”
28
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 1    69. As a result of the violation of Plaintiffs civil rights protected by California Civil Code §§51
 2         and 51.5, Plaintiff is entitled to the rights and remedies of California Civil Code §52,
 3         consisting of statutory damages, as well as reasonable attorneys' fees and costs, as allowed by
 4         statute, according to proof. California Civil Code §55 is specifically not invoked by plaintiff.
 5    70. Pursuant to California Code of Civil Procedure §425.50: (a) this complaint is filed on behalf of
 6         a high-frequency litigant, as defined; (b) 36; (c) shopping and dining in the Patterson area; (d)
 7         to buy food and drink items from this store.
 8    71. WHEREFORE, Plaintiff prays that this court award statutory damages and provide relief as
 9         follows:
10
11                                                 PRAYER FOR RELIEF
12   Plaintiff prays that this court award statutory damages and provide relief as follows:
13
14       1. Grant injunctive relief requiring that Defendants establish a nondiscriminatory
15   criteria, policy, practice and procedure permitting entry into the subject Business in
16   the City of Patterson, California, for the purpose of obtaining the goods and services accorded
17   therein according to California Civil Code §§51, 51.5, 52, 54, 54.1, and 54.3, California Health and
18   Safety Code §19953 et seq., and Title Ill of the Americans with Disabilities Act of 1990, and grant
19   injunctive relief requiring that Defendants repair and render safe to disabled persons, and otherwise
20   make accessible, all public areas of the Business’ store, including, but not limited to, each of the
21   barriers to access identified above, and make such facilities “readily accessible to and usable” by
22   individuals with disabilities according to the standards of Title 24 of the California Administrative
23   Code, California Health & Safety Code §19955 et seq., and Title Ill of the Americans with
24   Disabilities Act of 1990 and the standards of ADAAG; and prohibiting operation of the Business
25   located in the City of Patterson, California, as a public facility until Defendants provide full and
26   equal enjoyment of goods and services as described hereinabove to disabled persons, including
27   Plaintiff.
28
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 1       2. Statutory damages, according to proof, pursuant to California Civil Code §52, and statutory
 2            damages, according to proof, pursuant to California Civil Code §54.3. Plaintiff
 3            acknowledges that statutory damages cannot be claimed under both the Unruh Act and the
 4            California Disabled Persons Act; he will make an election before or at trial in this respect.
 5       3. Prejudgment interest on all damages to the extent permitted by law;
 6       4. Remedies and Procedures available under Americans with Disabilities Act of 1990,
 7            including but not limited to §§I 07,203 and 308.
 8       5. Award Plaintiff all litigation expenses, all costs of this proceeding and a reasonable
 9            attorneys’ fees as provided by law, including, but not limited to, those recoverable pursuant
10            to the provisions of California Civil Code §§52 and 54.3, California Code of Civil
11            Procedure §1021.5, and Americans with Disabilities Act of 1990 5308 of Title Ill; and
12       6. Grant such other and further relief as the court may deem just and proper.
13
14   /s/ Richard A. Mac Bride
15   Richard A. Mac Bride, Attorney for Plaintiff
16   Date: August 4, 2024
17
18                                                 REQUEST FOR JURY TRIAL
19
20   Plaintiff hereby requests a jury for all claims for which a jury is permitted.
21   /s/ Richard A. Mac Bride
22   Richard A. Mac Bride, Attorney for Plaintiff
23   Date: August 4, 2024
24
25
26                                                     VERIFICATION
27   I, Richard Sepulveda, plaintiff herein, hereby swear under penalty of perjury under the laws of the
28   State of California as follows: I am familiar with the contents of this complaint and verify that the
     ___________________________________________________________________________________________________________


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 1   facts alleged are true and correct according to my personal knowledge, except as to those matters
 2   that are pled on information and belief, and as to those matters, I have reason to believe that they
 3   are true.
 4
 5   /s/ Richard Sepulveda
 6   Richard Sepulveda
 7   Date: August 4, 2024
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